Case 2:20-cr-20538-DML-KGA ECF No. 95, PageID.678 Filed 12/14/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                              Case Number 20-20538
v.                                                             Honorable David M. Lawson

MATTHEW DARREL CHILDERS,

                  Defendant.
________________________________________/

               EIGHTH ORDER ADJOURNING TRIAL AND EXCLUDING
                     TIME UNDER THE SPEEDY TRIAL ACT

       On December 14, 2022, the Court held a status conference with the defendant and counsel

for the parties to discuss the impending trial. The defendant’s lawyer reported that he has a

complex federal robbery trial commencing the week after this matter is set for trial, and that under

the circumstances he would be unable properly to prepare for both trials in a timely manner. The

parties also reported that they still anticipate a prospect of a global resolution involving this matter

and pending state court criminal sexual conduct charges. The defendant requested that the Court

adjourn the presently scheduled trial date to ensure adequate trial preparation and continuity of

counsel for the defense. The government did not oppose the request.

       The Court finds that the defendant has shown good cause for the adjournment, and that a

schedule adjustment is necessary to ensure continuity of counsel for the defendant and to allow

reasonable time for his counsel to accomplish effective trial preparation. The Court further finds

that in the interests of justice the time between January 3, 2023 and the new trial date of March 21,

2023 should be excluded from the 70-day calculation under the Speedy Trial Act. See 18 U.S.C.

§ 3161(h)(7)(A), (B)(iv).
Case 2:20-cr-20538-DML-KGA ECF No. 95, PageID.679 Filed 12/14/22 Page 2 of 2




       Accordingly, it is ORDERED that the defendant’s unopposed request to adjourn the trial

is GRANTED for the reasons stated above and on the record.

       It is further ORDERED that the parties must appear for a final pretrial conference on

March 1, 2023 at 2:00 p.m.

       It is further ORDERED that the deadline for entering a guilty plea under a plea agreement

is extended to March 1, 2023.

       It is further ORDERED that the jury trial will begin on March 21, 2023 at 8:30 a.m.

       It is further ORDERED that the time between January 3, 2023 and the new trial date of

March 21, 2023 shall be EXCLUDED from the 70-day calculation under the Speedy Trial Act,

because the failure to grant the stipulated adjournment would deny the defendant continuity of

counsel and adequate time to prepare for trial. 18 U.S.C. § 3161(h)(7)(B)(iv).

                                                            s/David M. Lawson
                                                            DAVID M. LAWSON
                                                            United States District Judge

Dated: December 14, 2022




                                              -2-
